      Case:
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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                    TEL. 504-310-7700
CLERK                                                         600 S. MAESTRI PLACE,
                                                                      Suite 115
                                                             NEW ORLEANS, LA 70130

                             March 17, 2025
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 25-70006     Hoffman v. Westcott
                       USDC No. 3:25-CV-169

Enclosed is an order entered in this case.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk



                                  By: _________________________
                                  Mary Frances Yeager, Deputy Clerk
                                  504-310-7686
Mr. Jorge Benjamin Aguinaga
Mr. Hugham Chan
Ms. Rebecca Louise Hudsmith
Ms. Cecelia Trenticosta Kappel
Mr. Edmund Gerard LaCour Jr.
Mr. Michael L. McConnell
Ms. Samantha Bosalavage Pourciau
 Case:
Case   25-70006    Document: 58-1
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                               Document  1       Date Filed: 03/17/2025
                                                  03/17/25    Page 2 of 2




        United States Court of Appeals
             for the Fifth Circuit
                            ___________                      United States Court of Appeals
                                                                      Fifth Circuit


                             No. 25-70006
                                                                    FILED
                                                              March 17, 2025
                            ___________
                                                               Lyle W. Cayce
Jessie Hoffman,                                                     Clerk

                                      Plaintiff—Appellee/Cross-Appellant,

                                 versus

Gary Westcott, Secretary, Louisiana Department of Public Safety and
Corrections; Darrel Vannoy, Warden, Louisiana State Penitentiary, In
His Official Capacity; John Does, unknown executioners,

                            Defendants—Appellants/Cross-Appellees.
              ______________________________

              Appeal from the United States District Court
                  for the Middle District of Louisiana
                        USDC No. 3:25-CV-169
              ______________________________

                     UNPUBLISHED ORDER

Before Haynes, Ho, and Oldham, Circuit Judges.
Per Curiam:
      IT IS ORDERED that Appellants’ motion for stay of district
court’s March 11, 2025 preliminary injunction is DENIED.
      IT IS FURTHER ORDERED that Appellants’ motion to file
motion in excess of the word count limitation is GRANTED.




                                                                  A True Copy
                                                                  Certified order issued Mar 17, 2025


                                                                  Clerk, U.S. Court of Appeals, Fifth Circuit
